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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


GREG McMAHON
and ADAM GOLDBERG,

                  Plaintiffs,
                                                         Civil Action No. 2:21-cv-05660
       v.

GENERAC POWER SYSTEMS, INC.,

                  Defendant.


               [PROPOSED] ORDER GRANTING MOTION TO DISMISS

       AND NOW, this _____ day of ______________, 2022, upon consideration of Defendant

Generac Power Systems, Inc.’s Motion to Dismiss and any responses or replies thereto, it is hereby

ORDERED that the Motion is GRANTED, and the Complaint is DISMISSED.



                                                    ______________________________
                                                    The Honorable Gerald Pappert
                                                    United States District Judge
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                 Plaintiffs,
                                                      Civil Action No. 2:21-cv-05660
       v.

GENERAC POWER SYSTEMS, INC.,

                 Defendant.


     DEFENDANT GENERAC POWER SYSTEMS, INC.’S MOTION TO DISMISS

       Defendant Generac Power Systems, Inc. moves under Rule of Civil Procedure 12(b)(6) to

dismiss the Complaint of Plaintiffs Greg McMahon and Adam Goldberg. In support of its Motion,

Defendant incorporates the accompanying Memorandum of Law.




Dated: September 30, 2022                      /s Michael P. Daly
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                                               Meaghan V. Geatens (Pa. Bar No. 329069)
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           MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
          GENERAC POWER SYSTEMS, INC.’S MOTION TO DISMISS


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                                    I.     INTRODUCTION

       This case concerns an Important Safety Notice that Generac sent to Plaintiffs and others to

remind them about regularly and properly maintaining their home standby (“HSB”) generators.

The notice explained that improper installation, inadequate maintenance, insufficient clearance,

and harsh environmental conditions could combine to cause corrosion in a generator’s plenum,

which was a component in some older models that delivered fuel to the engine. Generac also

offered to have a technician conduct an optional inspection that would cost $80—an amount that

was heavily discounted for everyone and entirely refunded to anyone who needed plenum repairs.

       Plaintiffs received that notice and eventually filed suit. The gist of their claims is that the

inspections should have been free even for owners whose plenums were in perfect working order,

and that conditioning refunds on the existence of corrosion amounted to a breach of an express or

implied warranty. Generac now moves to dismiss because those claims fail as a matter of law.

       First, neither Plaintiff alleged any harm. As for their generators, neither alleged anything

about corrosion or performance issues. And as for the fee, Mr. Goldberg alleges he never paid it.

Although Mr. McMahon alleges he did, he ignores that the inspection was optional and the fee

was less than he would have paid to an independent technician for an inspection as part of routine

maintenance. In other words, he saved money rather than lost money. See infra Section IV.A.

       Second, even if Plaintiffs had been harmed in some way, their claims would be time-barred.

That is so because Mr. Goldberg’s warranty had expired before it was allegedly breached, because

neither Plaintiff gave notice of an alleged breach within a reasonable time, and because neither

filed suit within the applicable limitations period. See infra Section IV.B.

       Finally, even if Plaintiffs’ claims weren’t time-barred, they would fail for several reasons,

not least of which is that they allege no facts suggesting that their generators—which have been in

service without issue for nearly a decade—are defective in any way. See infra Section IV.C.
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                                     II.    BACKGROUND

A.     Plaintiffs’ Generators

       Mr. McMahon alleges that he bought a home in Pennsylvania with a Generac generator

that had been installed in 2014, and that he extended its warranty’s expiration from 2019 to 2024.

See Compl. ¶¶ 10-11.

       Mr. Goldberg alleges that he bought a Generac generator in 2013 for his home in Virginia.

See id. ¶¶ 15-17. He does not allege that he extended its warranty’s expiration. See id.

       Plaintiffs allege that Mr. McMahon received an Important Safety Notice from Generac in

December 2020 and Mr. Goldberg received one in March 2021. See id. ¶¶ 12-13, 18-19 & Ex. A.

Although Generac accepts those allegations as true for present purposes, it notes that the notice

attached to the Complaint references an earlier notice to Mr. Goldberg. Id., Ex. A. Plaintiffs allege

nothing about other notices, let alone when they might have received them.

       The Important Safety Notice explained that improper installation, inadequate maintenance,

insufficient clearance, and harsh environmental conditions could combine to cause corrosion in a

generator’s plenum. Id., Ex. A. It also recommended that homeowners who had not had a recent

inspection schedule one with an authorized dealer. See id. To encourage homeowners to do so,

Generac would discount the cost of the inspection for every homeowner and would waive the cost

of the inspection (and repairs) for any homeowner with significant plenum corrosion. See id. at 2

(discussing inspection fee).

       Plaintiffs allege that Mr. McMahon paid the $80 inspection fee but Mr. Goldberg did not.

See id. ¶¶ 14, 20. Neither Plaintiff alleges that his plenum has any corrosion, let alone any

corrosion that caused any property damage. See generally id.

       Plaintiffs allege that they sent a pre-suit notice to Generac on December 16, 2021. See id.

¶ 61. They filed suit on December 30, 2021. See generally id.

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B.     Plaintiffs’ Warranties

       Plaintiffs allege that Generac warranted that their generators would “be free from defects

in material and workmanship” for the earlier of 5 years after activation or 2,000 hours of operation.

See id. ¶ 31. Although they quote the warranty and refer to it as Exhibit B, see id. ¶ 31 & n.15,

they did not attach an Exhibit B to their Complaint.

       Consumers can find copies of Generac’s warranties by searching by serial number on its

website. See https://www.generac.com/service-support/product-support-lookup. Several aspects

of the Five-Year Limited Warranty associated with Plaintiffs’ generators are relevant here. First,

the warranty states that generators “will be free from defects in material and workmanship for the

items and period set forth below.” See Ex. A, Generac Power Systems Warranty, at 1. It then sets

three tiers of coverage:

                                   WARRANTY SCHEDULE

               YEARS ONE and TWO – Limited comprehensive coverage on
               mileage, labor, and parts.

               YEAR THREE – Limited comprehensive coverage on parts.

               YEARS FOUR and FIVE – Limited comprehensive coverage on
               engine (short block) and alternator (rotor and stator) parts only.

Id. (typography in original).

       Second, the warranty clearly and conspicuously excludes certain items:

                     THIS WARRANTY SHALL NOT APPLY TO THE
                                 FOLLOWING:

                                                ...

               3.       Costs of normal maintenance (i.e. tune-ups, associated
               part(s), adjustments, loose/leaking clamps, installation and start-up).

               ...



                                                 3
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                5.      Damage to the generator system (including transfer switch)
                caused by improper installation, maintenance or costs necessary to
                correct installation.

                ...

                9.      Steel enclosures that are rusting due to the improper
                installation, location in a harsh or saltwater environment . . . .

                10.      Failures due, but not limited, to normal wear and tear,
                accident, misuse, abuse, negligence or improper installation. As
                with all mechanical devices, the Generac engines need periodic
                part(s) service and fluid replacement to perform as designed. This
                warranty will not cover repair when normal use has exhausted the
                life of a part(s) or engine.

Id. (typography and emphasis in original).

        Third, the warranty disclaims any other warranties—whether express or implied—that are

not explicit in the warranty itself:

                THIS WARRANTY IS IN PLACE OF ALL OTHER
                WARRANTIES, EXPRESSED OR IMPLIED. SPECIFICALLY,
                GENERAC MAKES NO OTHER WARRANTIES AS TO THE
                MERCHANTABILITY OR FITNESS FOR A PARTICULAR
                PURPOSE. Any implied warranties which are allowed by law, shall
                be limited in duration to the terms of the express warranty provided
                herein.

Id. at 2 (typography in original).

        Finally, the warranty states that the exclusive remedy is that Generac will, “at its option,”

either “repair or replace” parts that are “found to be defective.” Id.

                                     III.   LEGAL STANDARD

        Rule 12(b)(6) requires courts to dismiss claims that “fail[] to state a claim upon which relief

can be granted.” Fed. R. Civ. P. 12(b)(6). In reviewing a motion under Rule 12(b)(6), courts must

accept well-pleaded allegations as true and view them in the light most favorable to the plaintiff.

But it is not enough to simply recite the elements of a claim. See, e.g., Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Rather, complaints must
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“show[] that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2), which means they must

“nudge” the claims “across the line” from possible to plausible. Twombly, 550 U.S. at 555, 570.

       In deciding a motion to dismiss under Rule 12(b)(6), a court may look beyond the pleading

without converting the motion into a summary judgment motion under Rule 12(d). Specifically,

courts can consider government documents, matters of public record, documents attached to the

complaint, and documents whose authenticity is not challenged and on which a claim is based.

See Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322-23 (2007); Steinhardt Grp. v.

Citicorp, 126 F.3d 144, 145 (3d Cir. 1997); In re Burlington Coat Factory Sec. Litig., 114 F.3d

1410, 1426 (3d Cir. 1997); Pension Benefit Guar. Corp. v. White Consolid. Indus., Inc., 998 F.2d

1192, 1196 (3d Cir. 1993). “Otherwise, a plaintiff with a legally deficient claim could survive a

motion to dismiss simply by failing to attach a dispositive document on which it relied.” Pension

Benefit, 998 F.2d at 1196. Such documents help “dispose of claims which, in light of the

documents on which they are based, are legally insufficient, without the necessity of allowing the

extensive discovery generally required before passing on a motion for summary judgment.”

Goodwin v. Elkins & Co., 730 F.2d 99, 114 (3d Cir. 1984) (Becker, J., concurring).

                                      IV.     ARGUMENT

       The gist of Plaintiffs’ claims is that plenum inspections should have been “at no cost” even

for owners whose plenums were in perfect working order. See, e.g., Compl. ¶ 4. From that core

allegation, Plaintiffs assert three breach-of-warranty claims: breach of express warranty, breach

of implied warranty, and violation of the federal Magnuson-Moss Warranty Act (“MMWA”),

which creates a private right of action for breaches of express or implied warranties. Id. ¶¶ 45-74.

Generac now moves to dismiss because those claims fail as a matter of law.




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A.     Plaintiffs Allege No Compensable Harm

       As an initial matter, Plaintiffs’ claims should be dismissed because neither of them has

alleged any cognizable harm. Such harm is, not surprisingly, an essential element of each claim.

See, e.g., Miller v. Heil Co., 525 F. Supp. 3d 612, 617 (W.D. Pa. 2021) (“A successful claim for

breach of express warranty must plead . . . damages.”); David’s Bridal, Inc. v. Cels Enters., Inc.,

No. 13-2870, 2015 WL 13651382, at *18 (E.D. Pa. Mar. 20, 2015) (rejecting claim of plaintiff that

could not prove harm); Wharton, Aldhizer & Weaver v. Savin Corp., 350 S.E.2d 635, 637 (Va.

1986) (affirming entry of judgment against plaintiff offered no evidence regarding its damages);

15 U.S.C. § 2310(d)(1) (“[A] consumer who is damaged by the failure of a supplier, warrantor, or

service contractor to comply with any obligation under this chapter, or under a written warranty,

implied warranty, or service contract, may bring suit for damages . . . .”) (emphasis added).

       Here, however, neither Plaintiff alleged cognizable harm. Indeed, neither alleged anything

about the condition of their generators, which presumably they would have done if their plenums

were even the slightest bit corroded. See Compl. ¶¶ 9-20. Instead, they target Generac’s policy of

charging a refundable $80 inspection fee. But Mr. Goldberg affirmatively alleges that he did not

pay that fee. See id ¶ 20. And while Mr. McMahon does allege that he paid that fee, he ignores

not only that he was under no obligation to do so, but also that an inspection outside of Generac’s

discounted program would have cost much more than $80. In other words, his theory of harm is

backwards; rather than losing $80, he saved the difference between the $80 he paid and what he

would have paid—which he does not allege—to an independent technician. It follows that neither

Plaintiff has any cognizable harm or by extension any viable claim.

B.     Plaintiffs’ Claims Are Barred

       Even if Plaintiffs had been harmed, their claims would be barred for several other reasons,

specifically because Mr. Goldberg’s warranty had expired before it was allegedly breached,

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because neither Plaintiff gave notice of an alleged breach of warranty within a reasonable time,

and because neither Plaintiff filed suit within the applicable limitations period.

       1.      Mr. Goldberg’s Warranty Expired Before It Was Allegedly Breached

       Mr. Goldberg alleges that he bought his HSB generator in July 2013. Id. ¶¶ 15-17. That

means that his warranty expired in 2018—i.e., nearly three years before the March 2021 notice

from which his claims arise. In other words, he no longer had a warranty to breach. It follows

that his claims are barred.

       As for his state-law claims, they fail as a matter of law because the alleged breach occurred

outside of the warranty period. See, e.g., Duquesne Light Co. v. Westinghouse Elec. Corp., 66

F.3d 604, 616 (3d Cir. 1995) (“[T]he general rule, from which we see no reason to deviate, is that

an express warranty does not cover repairs made after the applicable time has elapsed.” (cleaned

up) (internal quotation marks omitted)); Gotthelf v. Toyota Motor Sales, U.S.A., Inc., No. 11-4429,

2012 WL 1574301, at *19 (D.N.J. May 3, 2012) (“As a general rule, general warranties . . . do not

cover repairs made after the applicable time has elapsed.” (internal quotation marks omitted)) aff’d,

525 F. App’x 94 (3d Cir. 2013). And as for his MMWA claim, that rises and falls with his state-

law claims. See, e.g., DeFillippo v. Whirlpool Corp., No. 18-12523, 2019 WL 4127162, at *14

(D.N.J. Aug. 30, 2019) (citing Johansson v. Cent. Garden & Pet Co., 804 F. Supp.2d 257, 265

(D.N.J. 2011) (“Claims under the MMWA depend upon the disposition of the underlying state law

warranty claims.”); Vullings v. Bryant Heating & Cooling Sys., No. 18-3317, 2019 WL 687881,

at *2 (E.D. Pa. Feb. 19, 2019) (dismissing MMWA claim because state-law claims were time-

barred)). Accordingly, all of Mr. Goldberg’s claims are barred by his expired warranty.

       2.      Neither Plaintiff Gave Notice Within a Reasonable Amount of Time

       The relevant versions of the U.C.C. both provide that buyers are “barred from any remedy”

under a warranty if they do not “notify the seller” of an alleged breach of warranty “within a

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reasonable time after he discovers or should have discovered” the breach. See 13 Pa.C.S.

§ 2607(c)(1); Va. Code Ann. § 8.2-607(3)(a). That requirement serves several important purposes,

namely “enabling the seller to cure the breach,” “promoting the voluntary resolution of disputes,”

and “minimizing prejudice to the seller from the passage of time.” Hebron v. Am. Isuzu Motors,

Inc., 60 F.3d 1095, 1098-99 & n.2 (4th Cir. 1995). Courts across the country have held that buyers

bear the burden of proving that notice was reasonable. See, e.g., Jane M. Draper, Annotation,

Sufficiency & Timeliness of Buyer’s Notice Under U.C.C. § 2-607(3)(a) of Seller’s Breach of

Warranty, 89 A.L.R.5th 319 (2001).

       Although the U.C.C. does not define or explain how much delay is “reasonable,” courts in

Pennsylvania and Virginia (and elsewhere) have dismissed breach-of-warranty claims brought by

plaintiffs who gave notice more quickly than Mr. McMahon and Mr. Goldberg. See, e.g., David’s

Bridal, 2015 WL 13651382, at *16 (collecting cases in which notice was deemed untimely,

including notices given 34 days, 68 days, and three-and-a-half months after alleged breach); Smith-

Moore Body Co. v. Heil Co., 603 F. Supp. 354, 358-59 (E.D. Va. 1985) (holding that notice seven

months after breach was not reasonable); see also Kerr v. Hunter Div., 32 Va. Cir. 497, 1981 WL

394232, at *9 (1981) (holding that notice nine months after breach was not reasonable); Nat’l

Container Corp. of Pa. v. Regal Corrugated Box Co., 119 A.2d 270, 273 (Pa. 1956) (holding that

notice four months after breach would not be reasonable). Here, Plaintiffs provided notice on

December 16, 2021. Compl. ¶ 61. Even if we ignore the earlier notice that is referenced in the

first sentence of Exhibit A to the Complaint, see supra Section II.A, Plaintiffs waited twelve

months (as to Mr. McMahon, who alleges he received an Important Safety Notice in December

2020) and nine months (as to Mr. Goldberg, who alleges he received an Important Safety Notice

in March 2021) to notify Generac that they believed their warranty had been breached. See Compl.



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¶¶ 12, 18. They offer no reason why they decided to wait that long. It follows that their delay was

unreasonable and their claims are untenable.

       3.      Neither Plaintiff Filed Suit Within the Limitations Period

       Plaintiffs’ implied-warranty claims are also barred by the applicable statutes of limitations.

Under both Virginia’s and Pennsylvania’s versions of the U.C.C., implied-warranty claims must

be commenced within four years of the product’s delivery. See Va. Code Ann. § 8.2-725(1)-(2);

13 Pa.C.S. § 2725(a)-(b). Here, that period expired in 2017 for Mr. Goldberg (whose generator

was delivered in 2013) and 2018 for Mr. McMahon (whose generator was delivered in 2014).

Although there is an exception to the limitations period for warranties that “explicitly extend[] to

future performance,” that applies only to express warranties. It does not apply to implied

warranties, which by their nature are not “explicit” about anything. See Cooper-Booth Transp.

Co. v. Daimler Trucks of N. Am., LLC, No. 17-3884, 2018 WL 1940527, at *3 (E.D. Pa.

Apr. 24, 2018) (“[I]mplied warranties . . . do not explicitly extend to future performance”);

Providence Vill. Townhouse Condo. Ass’n v. Amurcon-Loudoun Corp., 33 Va. Cir. 165, 1994 WL

1031006, at *4 (1994) (“The future performance exception would be inapplicable to implied

warranties.”); Nationwide Ins. Co. v. Gen. Motors Corp./Chevrolet Motor Div., 625 A.2d 1172,

1178 (Pa. 1993) (“[T]he great weight of authority takes the position that an implied warranty, by

nature, cannot ‘explicitly’ extend to future performance.”). It follows that the implied-warranty

claims (and any MMWA claims stemming from them) are time-barred.

       Except insofar as Mr. McMahon is concerned, the same is true of express-warranty claims.

The future-performance exception applies if a warranty “explicitly extends to future performance.”

The warranty in this case extends to defects in “material” or “workmanship”—terms that concern

a product’s condition at the time of delivery. See, e.g., Poppenheimer v. Bluff City Motor Homes,

Div. of Bluff City Buick Co., 658 S.W.2d 106, 111 (Tenn. Ct. App. 1983) (“[T]he warranty is clear
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that it covers only defects in workmanship and materials . . . . Thus, this was a warranty that would

be breached on tender of delivery, although a remedy is allowed for a limited time after delivery.”).

That is best viewed as a “repair and replace” warranty that promises not future performance of the

product but rather future remedies from the seller. See N. Am. Commc’ns, Inc. v. InfoPrint Sols.

Co., 817 F. Supp. 2d 623, 632 (W.D. Pa. 2011) (“[W]arranties to repair or replace a good are

distinct from warranties for future performance, and do not extend the statute of limitations.”)

(emphasis in original) (applying New York law). Although Pennsylvania (where Mr. McMahon

resides) has adopted a minority approach, many other states have held that similar repair and

replace warranties do not trigger the future-performance exception to the limitations period. See

Nationwide Ins. Co., 625 A.2d at 1176 & n.7 (noting but rejecting majority approach). For that

reason, Mr. Goldberg’s express warranty claim is also time-barred.

C.     Plaintiffs’ Claims Lack Merit

       Even if Plaintiffs’ claims were not time-barred, they would still fail because Generac

complied with its express warranty and disclaimed any implied warranty.

       1.      Plaintiffs’ Express-Warranty Claims (Counts I and II)

       Plaintiffs claim that Generac breached its express warranty by charging an inspection fee.

But that would only be true if their warranty stated that inspections would be free. And their

warranty said nothing of the sort. To the contrary, it stated that Generac would either “repair or

replace” parts that are “found to be defective” during the term of the five-year warranty. See supra

Section II.B. Although it does reference “examination, inspection, or testing,” such language

refers to a seller’s ability to confirm a consumer’s claim that a product is defective. It cannot be

read as promising that inspections will be free even for consumers whose goods are not defective.

Even if we assume for the sake of argument that there was some unspecified defect in Plaintiffs’

plenums, that would not amount to a breach of their warranties so long as Generac were to repair

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or replace them—which is exactly what its Important Safety Notice said it would do. See, e.g.,

David v. Am. Suzuki Motor Corp., 629 F. Supp. 2d 1309, 1319 (S.D. Fla. 2009).

        The Complaint identifies nothing in the MMWA or any other federal or state law that

prohibits charging a fee to inspect warranted goods. Indeed, the FTC—the agency tasked with

interpreting and enforcing the MMWA—offers an example of a limited warranty that has

customers pay for postage and labor. FTC, Businessperson’s Guide to Federal Warranty Law

(updated Mar. 2018), at https://www.ftc.gov/business-guidance/resources/businesspersons-guide-

federal-warranty-law. It follows that there is no rule against charging to inspect warranted goods.

In any event, Generac certainly did not breach anything in its express warranty by doing so.

        2.      Plaintiffs’ Implied-Warranty Claims (Counts I and III)

        Next, Plaintiffs claim that Generac breached various implied warranties because their

generators were “not of merchantable quality,” their generators were “unfit for ordinary use,” or

their warranties “fail[ed] of their essential purpose.” Compl. ¶¶ 54-55, 69-71. Those theories of

liability fail for at least three reasons.

        First, Plaintiffs’ implied-warranty claims fail because their express warranties disclaimed

implied warranties. As noted above, the Five-Year Limited Warranty stated as follows:

                THIS WARRANTY IS IN PLACE OF ALL OTHER
                WARRANTIES, EXPRESSED OR IMPLIED. SPECIFICALLY,
                GENERAC MAKES NO OTHER WARRANTIES AS TO THE
                MERCHANTABILITY OR FITNESS FOR A PARTICULAR
                PURPOSE.

See supra Section II.B. Pennsylvania and Virginia law allow sellers to disclaim implied warranties

so long as the disclaimers are conspicuous. See 13 Pa.C.S. § 2316(b); Va. Code Ann. § 8.2-316.

It follows that Generac did not even make the implied warranties Plaintiffs say were breached.

        No doubt recognizing this, Plaintiffs claim that the express warranty (and by extension its

disclaimer of implied warranties) is void because it “fail[s] of [its] essential purpose.” Compl.

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¶ 71. Their point, it seems, is that the warranty did not provide sufficient remedies. But that is

wrong as a matter of law, as the U.C.C. allows sellers to “limit[] the remedies of the buyer to . . .

repair and replacement of nonconforming goods,” which is precisely what Generac did here. See

13 Pa.C.S. § 2719(a)(1); Va. Code Ann. § 8.2-719(1); see also, e.g., Hornberger v. Gen. Motors

Corp., 929 F. Supp. 884, 890-91 (E.D. Pa. 1996) (holding that exclusive remedy of repair, and

disclaimer of incidental and consequential damages, did not fail of its essential purpose); Bryant

v. Winnebago Indus., Inc., 15 Va. Cir. 434, 1989 WL 1137653, at *2 (1989) (holding that repair-

and-replace warranty that excluded consequential damages “did not fail of its essential purpose”).

       Second, even if we ignore that disclaimer, these claims are premised on the existence of a

“defect” that does not exist. See, e.g., Miller, 525 F. Supp. 3d at 619 (“A successful breach of

implied warranty of merchantability must show that the product was defective . . . .”). Plaintiffs

describe the defect as a “propensity to develop corrosion.” Compl. ¶ 3. But that cannot be squared

with the fact that Plaintiffs—whose generators have been in service since 2013 and 2014—allege

nothing about corrosion or any other problems with their generators. See id. ¶¶ 9-20. If a mere

“propensity to develop corrosion” were in and of itself a defect, then virtually every product with

metal components would be defective. See, e.g., Demaria v. Nissan N. Am., Inc., No. 15-3321,

2016 WL 374145, at *11 (N.D. Ill. Feb. 1, 2016) (dismissing frauds claim arising from alleged

defect and explaining that “the allegedly concealed fact cannot be simply that metal rusts over time

in general”). Plaintiffs’ generators, which show no alleged signs of corrosion after nearly a decade

of exposure to the elements, are not “defective” in any serious sense of the word.

       Finally, even if Plaintiffs had alleged facts suggesting that their generators had corroded,

they have not alleged facts regarding other elements of their implied-warranty claims, for example

that they used the product as intended, or that there were no other causes for the corrosion. See,



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e.g., Brill v. Sys. Res., Inc., 592 A.2d 1377, 1379 (Pa. Super. 1991). Indeed, they allege nothing

about the condition of their generators. Nor do they allege facts that would either explain the cause

of the supposed “propensity” to develop corrosion or rule out other possible causes of corrosion

such as improper installation or maintenance. See Compl. ¶¶ 9-20.

        The dismissal of similar claims in Cooper v. Simpson Strong-Tie Co., Inc., 460 F. Supp.

3d 894 (N.D. Cal. 2020) is instructive. The plaintiffs in Cooper brought breach-of-warranty claims

against a manufacturer of construction fasteners that had sent them a notice about the possibility

of corrosion caused by improper installation. Id. at 909. Unlike Mr. McMahon and Mr. Goldberg,

the plaintiffs alleged that the product had corroded. In nevertheless dismissing their claims, the

court found that they had not plausibly alleged the existence of a defect or breach of warranty, as

they had alleged no facts suggesting that the manufacturer had warranted that the fasteners would

never corrode, no facts regarding whether the fasteners had been installed and maintained pursuant

to the manufacturer’s instructions, and no facts regarding when they were installed, when they

began corroding, or why they had corroded. Id. at 902-06; see also id. at 907 (“And if they do not

know when the Product was installed in their homes or whether it was installed properly, that raises

a pretty strong inference that they’re speculating about the reasons for and rate of corrosion . . . .”).

        Plaintiffs’ claims fare no better. Neither alleges any facts suggesting that his generator was

installed as directed by Generac’s Installation Guidelines or regularly and properly maintained as

directed by its Owner’s Manual. Indeed, neither document is even mentioned in the Complaint.

See generally Compl. And like the letter in Cooper, the Important Safety Notice in this case is

hardly evidence of a defect, as it attributes corrosion to a combination of improper installation,

inadequate maintenance, insufficient clearance, and harsh environmental conditions. See Cooper,

460 F. Supp. 3d at 909 (“If anything, the letter suggests an alternative reason for the corrosion of



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products installed in Plaintiffs’ homes: mis-installation.”). In any event, neither has alleged

anything about any corrosion or indeed any other problems with their generators. Compl. ¶¶ 9-20.

It follows that Plaintiffs have not stated a claim for breach of any implied warranties.

                                     V.      CONCLUSION

       For the foregoing reasons, Generac respectfully requests that its Motion be granted and

Plaintiffs’ claims be dismissed.

                                                      Respectfully submitted,

 Dated: September 30, 2022                            /s Michael P. Daly
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                                CERTIFICATE OF SERVICE

       I certify that, on the date set forth below, I served the foregoing document on all counsel

of record who have entered an appearance via the Court’s CM/ECF system.


 Dated: September 30, 2022                   By: /s/ Michael P. Daly
                                                 Michael P. Daly
